                         Case 1:20-cv-00007-JRH-BKE Document 24 Filed 11/06/20 Page 1 of 1

         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia
                  TEMPEST ABDULLAH,

                                         Plaintiff,
                                                                                   JUDGMENT IN A CIVIL CASE


                                           V.                                    CASE NUMBER:        CV 120-007

                  CONTRACT CALLERS,

                                         Defendant.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, pursuant to the Order dated November 6, 2020, Defendant's Motion to Dismiss is GRANTED;

                    therefore, all pending motions and deadlines are TERMINATED and this case stands CLOSED.




           11/06/2020                                                          John E. Triplett, Acting Clerk
           Date                                                                Clerk



                                                                               (By) Deputy
                                                                                      puty Clerk
GAS Rev 10/2020
